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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION

UNITED STATES OF AMERICA                  )       CASE NO: 1:21-CR-048
                                          )
v.                                        )
                                          )
SAMMIE LEE SIAS                           )

         UNITED STATES’ THIRD NOTICE OF INTENT TO OFFER
            CERTIFIED RECORDS PURSUANT TO F.R.E. 902

      The United States notifies the Court and counsel of its intent to offer at trial

self-authenticating records pursuant to Federal Rule of Evidence 902(11) & (13).

      Said records consist of account information for Sammie L. Sias from Pentagon

Federal Credit Union (“PenFed”).

        1. Account records for one (1) checking account, one (1) savings account, one

             (1) credit card account, one (1) personal line of credit, one (1) home equity

             loan, one (1) mortgage account, and two (2) vehicle loans were generated

             by PenFed’s electronic process or system that produces an accurate result

             and that is subject to regular verification by PenFed, as described in the

             certifications of Katina Spiggs, BSA/AML Specialist, and Marsha

             Tiaranai, Manager, for PenFed. The certification attached hereto meets

             the requirements of Rules 902(11) and (13) and 803(6) A-C. See Ex. A.

      All of the above listed bank records have been provided to the defense in

discovery.

                     This 13th day of July, 2022.

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                             Respectfully submitted,

                             DAVID H. ESTES
                             UNITED STATES ATTORNEY

                             /s/ Tara M. Lyons
                             Tara M. Lyons
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                             Assistant United States Attorney
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                             /s/ Patricia Green Rhodes
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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION

UNITED STATES OF AMERICA                     )       CASE NO: 1:21-CR-048
                                             )
v.                                           )
                                             )
SAMMIE LEE SIAS                              )

              CERTIFICATE OF SERVICE FOR UNITED STATES’
                  THIRD NOTICE OF INTENT TO OFFER
               CERTIFIED RECORDS PURSUANT TO F.R.E. 902

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this Court.

       This 13th day of July, 2022.

                                             DAVID H. ESTES
                                             UNITED STATES ATTORNEY

                                             /s/ Tara M. Lyons
                                             Tara M. Lyons
                                             Deputy Chief, Criminal Division
                                             Assistant United States Attorney
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